VOLUNTEER AUXILIARY POLICE FORCE **** A CITY OR MUNICIPALITY IN THIS STATE MAY PROPERLY FORM AN AUXILIARY POLICE FORCE BUT THERE ARE CERTAIN LIMITATIONS UPON THE FUNCTIONS TO BE PERFORMED BY THE MEMBER OF SAID FORCE. IT IS NECESSARY THAT MEMBERS OF AN AUXILIARY POLICE FORCE BE QUALIFIED UNDER THE PROVISIONS OF 70 O.S. 1971 3311 [70-3311] EXCEPT WHERE PERFORMING EMERGENCY FUNCTIONS AS CONTEMPLATED IN THE " CIVIL DEFENSE ACT ", 63 O.S. 1971 683.1 [63-683.1], ET SEQ. IN PROVIDING POLICE PROTECTION AND PERFORMING POLICE FUNCTIONS A MUNICIPALITY IS CLOAKED WITH GOVERNMENTAL IMMUNITY AND IS NOT LIABLE FOR THE CONDUCT OF MEMBERS OF ITS POLICE FORCE WHILE IN THE PERFORMANCE OF DUTIES IMPOSED BY LAW. AN AUXILIARY POLICE FORCE, WHICH HAS RECEIVED THE REQUISITE TRAINING OR WHICH HAS BEEN TRAINED TO PERFORM CERTAIN POLICE DUTIES DURING EMERGENCY SITUATIONS, WOULD BE COVERED UNDER THE SAME CLOAK OF IMMUNITY WHILE IN THE PERFORMANCE OF POLICE FUNCTIONS ON BEHALF OF THE MUNICIPALITY. AFTER OCTOBER 1, 1975, 11 O.S. 1975 Supp., 16.4 [11-16.4] WILL REQUIRE ALL MUNICIPALITIES INSURANCE, FOR ALL PERSONS PERFORMING POLICE FUNCTIONS ON BEHALF OF A MUNICIPALITY.  ** SEE: OPINION NO. 75-211 (1975) **